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                   UNITED STATES DISTRICT COURT FOR THE
                        DISTRICT OF NEW HAMPSHIRE


United States of America,
      Plaintiff

              v.
                                               Case No. 12-cr-07-01/04-SM
Edwin Mateo, Jeremy Martin,
Nicholas Sheffler and Joseph Hasan,
     Defendants

                                      ORDER

        Defendant Jeremy Martin has filed a Partially Assented to Motion to Continue

the final pretrial conference and trial for 60 days, which motion is granted

(document no. 32).      Trial has been rescheduled for the May 2012 trial period.

Defendant Martin shall file a waiver of speedy trial rights not later than March 15,

2012.      On the filing of such waiver, his continuance shall be effective.



        The Court finds that the ends of justice served by granting a continuance

outweigh the best interest of the public and the defendants in a speedy trial,

18 U.S.C. § 3161(h)(8)(B)(iv), in that failure to grant a continuance would

unreasonably deny the defendants the reasonable time necessary for effective

preparation taking into account the exercise of due diligence under the

circumstances.
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      Final Pretrial Conference is rescheduled for May 4, 2012 at 10:30 a.m.

      Jury selection will take place on May 15, 2012 at 9:30 a.m.



      SO ORDERED.



                                      _________________________
                                          Steven J. McAuliffe
                                          U.S. District Judge

February 29, 2012

cc:   Cathy Green, Esq.
      Charles Keefe, Esq.
      Jonathan R. Saxe, Esq.
      Andrew Kennedy, Esq.
      Seth Aframe, AUSA
      U.S. Marshal
